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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                    CASE NO. I3-I4OSO-CIV-MARTINEZ/LYNCH
   SECURITIES AMn EXCHANGE COMM ISSION ,

         Plaintiff,                                        FILED Ly            D.C.

   V.                                                         80k 2 6 2213
   WE THE PEOPLE , INC., OF THE UN ITED STATES,               STEVEN M LARIMORE
                                                               CLERKtlb.DISIcm
                                                             S.D.oFFLJ.-F'cPIERCE
         Defendant .
                                                 /
    REPORT AND RECOMMENDATION ON RECEIVER'S THIRD INTERIM QUARTERLY
     APPLICATION FOR AN ORDER APPROVING AND AUTHORIZING PAYMENT OF
        FEES AND EXPENSES OF RECEIVER AND HER PROFESSIONALS (DE 78)

          THIS CAUSE comes before this Court upon an Order of

   Reference (DE 82) and the above Motion . Having reviewed the

   Motion, noting that no responsive pleadings were filed and

   noting further that the SEC does not oppose the Motion , this

   Court recommends as follows :

               By way of the instant Motion , the Receiver seeks to

   recover fees and expenses for services rendered for the three

   month time period of July to September , 2013 . For herself and

   her Lead Counsel, she seeks $51,536.50 in fees and $833.04 in
   expenses . For the receivership 's special insurance counsel, she

   seeks $5,422.50 in fees and $.90 in expenses. This Court
   observes that for receivership work done from February to July ,

   2013, the Receiver already has been awarded a total of

   $77,031.67 in fees and expenses. Special insurance counsel
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   already has been awarded a total of $9,677.95 in fees and

   expenses .
                This Court reviews these requests for reasonableness

   and good billing judgment according to the federal lodestar fee

   standard . (This Court discusses that standard in its Report and

   Recommendation on the Receiver's first fee motion .) This Court
   also reviews these requests with the need to conserve the

   receivership 's assets for the benefit of third parties . The need

   to demonstrate the reasonableness of the requested fee award and

   the need to exercise good billing judgment apply with particular
   force to this third fee motion , and this ruling looks back to

   the prior two Report and Recommendations.

                This Court begins with the Receiver's claim for fees .

   As the Receiver explains in her Motion and in her Third

   Quarterly Status Report (DE           the Receiver continues

   handle a variety of matters related to the receivership 's

   administration , the handling of its annuity assets, and

   litigation . For th is work , the Receiver 's attorneys charge an

   hourly rate ranging from $265 to $200, for an average rate of

   $238.75. (The Receiver calculates a blended rate of $229.58 an

   hour.) This Court already has accepted these hourly rates as
   reasonable . For this work, the Receiver 's attorneys claim a

   total of 225 .03 hours expended , the equivalent of over 5% full-

   time workweeks during the three month fee period .
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        4.    This is in addition to the work done by others who the

   Receiver hired to adm inister the receivership and who the

   receivership pays directly . The Receiver hired Roy Emmons as the

   Chief Restructuring Officer to manage day-to-day business

   operations and who helps carry out legal-related tasks . It is

   unknown whether the $46,000 consulting fee that the receivership
   paid during the July to September period is for Mr . Emmons . The

   Receiver also has an accountant whom it paid $8,450.00 during
   the same three month period . This Court has made this same

   observation before , but the Receiver still does not relate these

   ancillary professional fees to her attorney fee request . Neither

   of these ancillary professional fees are subject of a
   reasonableness review , and the Receiver does not demonstrate how

   they resu lt in overall less cost burden to the receivership .

   Moreover , while the Receiver points out how she has reduced We

   the People , Inc .'s operating expenses since taking it over , it

   is unclear whether she includes these ancillary professional

   fees in the before and after cost comparison .

               The Receiver 's presently claimed fee amount is close

   to the amount claimed in the first fee motion . That motion

   sought compensation during the receivership 's creation , a time

   which this Court described in its first Report and

   Recommendation (DE         as requiring nthe extra effort one would
   expect when first taking over an operation and bringing it to a
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   liquidation-ready state'' involving such tasks as nsecuring the

   Defendant , taking over its operations, taking inventory of al1

   assets and liabilities, and making necessary arrangements .'' Such

   is no longer the situation . Thus , given that the presently

   claim ed fee amount remains similarly large , this Court will

   review the instant fee claim in more detail, on a task-by-task

   basis .

              W ith regard to the task-by -task billing entries , this

   Court will discuss them here in far greater detail than the

   Receiver does in her Motion . This Court notes that its own

   calculations of how much time the Receiver 's attorneys spent on

   each general task category may not be absolutely precise . Not

   all of the billing entries are clear as what the task category

        The Receiver has left it largely to this Court to make sense

   of the submitted billing records and how the entries relate to

   receivership activ ities . This Court adds that it does not

   include paralegal hours in its calculations , even when paralegal

   hours are billed, with one exception noted below . This Court

   excludes them for instant purposes in order to focus the

   discussion on attorney work hours .

               The general task category on which the Receiver 's

   attorneys spent most of their time was the receivership 's claim

   against the Defendant's D&O insurance policy . This Court will


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   address this matter separately, in conjunction with the fee
   claim by the Receiver 's special insurance counsel .

               The next general task category in terms of number of

   work hours expended is the management of the annuities . For

   this , the Receiver claims 38 .7 hours . Much of this time was

   spent in correspondence with Mr . Emmons, the Chief Restructuring

   Officer . This time does not include the           hours spent

   corresponding w ith the A llianz insurance company and

   corresponding w ith the insurance regulator for the State of

   Kentucky . Nor does it include the 22 .9 hours spent corresponding

   with the IRS in securing a Closing Agreement . Such an agreement

   was needed in order to avoid adverse tax consequences from the

   transfer of the annuities to a legitimate charity .

               The Receiver claim s 11 .8 hours spent on business

   operation tasks, much of which concerned the review and

   execution of insurance papers . The Receiver claims 4 .7 hours on

   real estate-related tasks , much of which concerned

   correspondence with realtors . The Receiver spent 3.6 hours

   working on claims against third parties such as recovering

   comm issions paid .

         1O.   This Court next addresses litigation -related tasks .

   The Receiver spent .8 hours related to the Walls' objection. The
   Receiver spent 7.5 hours on a lawsuit brought by the Defendant 's

   landlord ; her participation in that lawsuit consisted mostly of
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   advising that presiding court of the receivership stay . A task

   billed in prior fee claims , the Receiver continued to pursue the

   production of documents from the law firm of Akerman &

   Senterfitt . In this effort , in obtaining the documents, the

   Receiver claims 4 .7 hours . As for specific tasks directly

   related to this litigation , this Court notes that the Receiver

   claims 5 .4 hours on status conferences and related activ ities,

   and 11.3 hours preparing the Receiver's second quarterly report .

   The Receiver also claims 1 .3 hours spent on a prev ious fee

   motion (but otherwise she does not seek reimbursement for

   working on that motion).
              This Court categorizes the billing in this way in

   order to show why the claimed fees are unreasonab ly high . The

   billing entries suggest that the Chief Restructuring Officer did

   much of the work . This makes the hours billed for correspondence

   and conference time with him seem excessive . The eleven hours

   spent writing the Receiver 's Second Report is high given that it

   does not even include conference time discussing the

   receivership 's status. The nearly 23 hours spent corresponding

   with the IRS is high even in light of the importance of the tax

   matter . The nearly five hours spent on an ongoing effort to

   secure a document production from a law firm is high . They are

   unreasonably high when judged against the principle of good
   billing judgment.
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         12 . However it is with respect to the D&O insurance claim

   that the claimed fee is most unreasonable . To begin with , this

   Court observes that the Receiver has been billing for work done

   on the D&O insurance claim since the first fee motion . In its

   first fee motion , the special insurance counsel of Ver Ploeg &

   Lumpkin , PA , sought fees for work done on filing the claim

   against the D&O insurance company , Darwin National Insurance Co .

   In the second fee motion , the special insurance counsel again

   sought reimbursemen t for work done on the D&O insurance claim .

   Now the Receiver , herself, seeks reimbursement for work on the

   D&O insurance claim and substantial hours at that .

         13 . Billing records suggest that by the third quarter , the

   work on the D&O cla im switched to litigation -related efforts . A

   month and a half into the instant b illing period , the Receiver

   had spent 45.2 hours working on the claim of which 12 .3 hours

   were spent just drafting the complaint. Over the next month and
   a half, the Receiver spent another 42 .1 hours, much of which

   still was spent on drafting the compliant, but now included work

   further developing the D&O claim as well as developing a breach

   of fiduciary duty claim against the Defendant's directors . This

   includes two hours spent by a paralegal on the cover sheet and

   summons paperwork accompanying the breach of fiduciary duty

   complaint . The Receiver spent another 8 .9 hours on developing a

   fraud claim against the Olives as well as on asset
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   investigation . The time billed for drafting complaints alone is

   unreasonably high , and this Court extrapolates therefrom that

   the Receiver overbills for the other tasks , as well.

         14. To this, the special insurance counsel bills $5,422.50
   for work it did . Curiously that it is the amount that the

   special insurance counsel incurred for work done only in the

   month of July . The amount claimed in the Motion does not seem to

   include the $10,890 that the special insurance counsel bills for
   the months of August and September , even though those two

   additional billing invoices are attached to the Motion at

   Exhibit     The reason why the Receiver seeks to collect only for

   the month of July is unstated . Were the Receiver to seek a

   reimbursement of the full $16,312.50, this Court would have
   found tha t amount unreasonably high . That fee is the product of

   two hourly rates ($225 and $525) and nearly 60 hours of work by
   the special insurance counsel . This, of course, is in addition

   to the time spent by the Receiver 's attorneys on the same task .

         l5 . This Court understands that a successful D&O claim

   will benefit the receivership because it will provide funds to

   replenish the receivership 's assets . Conservative management of

   the receivership for the benefit of third parties is, after

   the Receiver's ultimate goal. Good billing judgment is important
   to the receivership , too , and this Court must take that into

   account , as well . This Court finds the amount that the Receiver
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   actually claim s on behalf of the special insurance counsel- -

   just a third of the total potential fee claim---to be reasonable
   accommodation of these two considerations and to obviate the

   need for any further inquiry . Thus, this Court recommends that

   the special insurance counsel be awarded $5,422.50 in total

   fees .

              The same two points of consideration apply to the fee

   amount that the Receiver claim s for her attorneys . On one hand ,

   this Court understands the range of tasks needed to liquidate

   the receiversh ip : transferring the annuities to an appropriate

   vehicle, keeping the annuitants informed of what is going on ,

   selling real estate assets, handling ancillary litigation , and

   pursuing the recovery of assets were possible . On the other

   hand, good billing judgment also conserves the receivership, a
   point which this Court stressed in its Report and Recommendation

   on the Receiver 's first fee motion . Th is Court finds that the

   Receiver 's fees should be reduced by one -th ird . A one -third

   reduction accounts for the Receiver 's overb illing and the

   Motion 's other shortcom ings in demonstrating reasonab leness .

   This Court does not reduce the fee award by more given the

   substantial reduction of the special insurance counsel's fees .

   Thus , this Court recomm ends that the Receiver be awarded

   $34,357.67 in total fees.


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                Altogether, this yields a total fee award

   $39,780.17 for the three month period at issue. This Court finds

   this to be a more than adequate compensation on the whole and

   much more reasonable than the total fee amount claimed . This is

   reasonable in light of work done by the Receiver, her attorneys ,

   and the special insurance counsel during the relevant quarter

   and in relation to the prior two awards . Should she file a

   fourth fee motion , this Court greatly emphasizes to the Receiver

   the need to exercise good billing judgment and to submit a fee
   claim that clearly demonstrates its reasonableness .

         18.    Lastly this Court considers the claim for costs and

   expenses . The Receiver claims a total of $833.04 . This Court

   finds this reasonable except for the $69.00 in Pacer photocopies

   claimed. This Court allowed $36.10 in Pacer-related fees in its
   prior Rep ort and Recommendation even though the Receiver

   provided ''no exp lanation for the amount of this particular

   cost/'. The Receiver still does not explain           now . This Court

         not allow it this time , and this Court recommends that the

   Receiver be awarded only $764.04 in costs and expenses. As for
   the special insurance counsel, it seeks $.90 in costs, and this
   Court finds this reasonable .

         ACCORDINGLY , this Court recommends to the District Court

    that the Receiver's Third Motion be GRANTED , in part , as

    follows :
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               The fee and cost/expense amounts that this Court finds
               reasonable for each party are :


               A.       $35,121.71 for the Receiver and her Lead Counsel,
                        Damian & Valori, LLP, and

               B.       $5,423.40 for the Insurance Counsel, Ver Ploeg &
                        Lumpkin , P .A .


         II. The above reasonable fee and cost/expense amounts
               yield an overall total award of $40,545.11.


               The amount of fees and cost/expenses to be awarded now
               (and the 2O% to be held back pending final ruling)
               ar e :



               A.       $28,097.37 to be distributed now (with $7,024.34
                        to be held back) to the Receiver and her Lead
                        Counsel, and

               B.       $4,338.72 to be distributed now (with $1,084.68
                        to be held back) to the Insurance Counsel, Ver
                        Ploeg & Lumpkin , P .A .,


         IV . As such, this Court recommends that a total of
               $32,436.09 be awarded now on the Motion with a total
               of $8,109.02 to be held back pending final ruling .


         The parties shall have fourteen (14) days from the date of

   this Report and Recommendation Within which to file objections,
   if any , with the Honorable Jose E . Martinez, the United States

   District Judge assigned to this case .




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           DONE AND SUBMITTED in Chambers at Fort Pierce , Florida,

   this        Nv day of November, 2013 .         .. . .- .-
                                                               p




                                              K J . LY    , JR .
                                          UNITED S     ES MAGISTRATE JUDGE




    cc :   Hon . Jose E . Martinez
           Kenneth Dante Murena , Esq .
           Dugan Bliss, Esq .



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